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                             UNITED STATES DISTRICT COURT

                                 DISTRICT OF OREGON

                                  PORTLAND DIVISION


  KELLY CAHILL et al.,                        Case No. 3:18-cv-01477-JR

               Plaintiffs,                    DEFENDANT NIKE, INC.’S
                                              OPPOSITION TO PLAINTIFFS’
        v.                                    MOTION TO DETERMINE WHETHER
                                              THERE IS “GOOD CAUSE” FOR
  NIKE, INC., an Oregon Corporation,          CONFIDENTIALITY DESIGNATIONS
                                              FOR DOCUMENTS IN NIKE’S
               Defendant.                     PRODUCTION #52

                                              ORAL ARGUMENT REQUESTED
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I.        INTRODUCTION

          Plaintiffs’ Motion is a waste of the Court’s and the parties’ time and resources. NIKE

marked documents in Production No. 52 as “Confidential” under the parties’ Stipulated

Protective Order because they relate to allegations of harassment raised by NIKE employees on a

confidential basis for internal review. These employees never consented to the public disclosure

of their identities—or their allegations—in this litigation, or otherwise. “Good cause” supports

the “Confidential” designations here, particularly where “matters pertaining to claims of

harassment or discrimination” are specifically contemplated for such treatment under the

Stipulated Protective Order. ECF No. 82 at 2.

          Plaintiffs contend that the “Confidential” designations hinder their trial preparation.

Nonsense.

          First, none of the documents here pertain to the impending trials of the four Named

Plaintiffs. None of the Named Plaintiffs assert a harassment cause of action in this case, and

none of the allegations raised in the referenced documents were made by or about the Named

Plaintiffs. But if counsel wish to show documents from Production No. 52 to any individual who

prepared or received that document, they may do so consistent with the Stipulated Protective

Order. ECF No. 82 at ¶ 7(f) (permitting access to “Confidential” documents by “authors and

original recipients”). Plaintiffs have failed to identify a single legitimate reason why they need

to show these “Confidential” documents to persons who did not prepare or receive the original

documents in order to try the four Named Plaintiffs’ individual discrimination and equal pay

claims.

          Second, Plaintiffs are free to use the referenced documents for proper purposes in this

litigation. NIKE already has notified Plaintiffs that, if the documents at issue need to be filed

with the Court to resolve a substantive, merits-based motion, Plaintiffs may do so, with
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redactions only to certain information (e.g., names and other identifiers) pending the Ninth

Circuit’s ruling on NIKE’s related appeal. See Appeal No. 24-165. That appeal is fully briefed,

and the Ninth Circuit will soon provide guidance regarding the nature and scope of privacy

protections afforded to non-party NIKE employees in documents filed with the court. Plaintiffs

refuse to await that Ninth Circuit guidance, even though the pending appeal relates directly to the

issues they now put before this Court. That is not an efficient use of the Court’s resources.

       Put simply, the “Confidential” designations applied to documents within Production

No. 52 are supported by “good cause” under the Stipulated Protective Order. Plaintiffs are not

precluded from using such documents, where appropriate, to litigate this case or to prepare for

trial. Plaintiffs may not, however, use the documents outside of this litigation, which appears to

be their reason for pursuing this issue now. Civil discovery is not a means for Plaintiffs to

procure documents related to internal concerns raised, in confidence, by and about non-party

employees who have privacy rights, where no consent has been provided for their disclosure,

and to share those documents with persons who have no relation to the complaints or allegations

at issue. ECF No. 431 at 6. Neither Plaintiffs nor their counsel should be permitted to use

discovery devices to skirt protections afforded to litigants and non-parties, especially where the

apparent objective is to taint the jury pool before trial. ECF Nos. 471 and 497.

       NIKE is ready to set a trial date on the Named Plaintiffs’ claims so they may be brought

to resolution. Plaintiffs should prioritize the same. 1 The Court should deny Plaintiffs’ Motion.




1
  NIKE hopes the goal of the Motion is not to manufacture a discovery “dispute” in another
attempt by Plaintiffs to argue for a Discovery Referee, in yet another effort by Plaintiffs to avoid
trial of the four Named Plaintiffs’ claims.

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II.     FACTUAL BACKGROUND

        As a preliminary matter, this Court has never ruled that NIKE lacks “good cause” to

designate documents related to internal complaints as “Confidential.” After both this Court and

the Ninth Circuit found that this case could not proceed on a class-wide basis—see ECF Nos.

310 at 57, 335, and generally Cahill et al. v. NIKE, Inc., No. 23-80027 (9th Cir. June 1, 2023)—

NIKE agreed to unseal a limited number of documents filed with Plaintiffs’ Motion for Class

Certification, with the names of non-party individuals redacted. ECF No. 273 at 13-14

(indicating the parties “review[ed] previously sealed documents and re-lodge[d] unsealed or

redacted versions where appropriate.”), id. at 12-13 (the Parties agreed to keep redacted “the

names of any individuals named in allegations of sexual harassment or gender discrimination at

Nike that have not already been made public[.]”). The Media Intervenors then renewed a prior

motion to unseal the remaining information. ECF No. 343. In granting the Media Intervenors’

renewed motion, this Court found that the common law presumption of access to court records

applied to documents filed in support of Plaintiffs’ Motion for Class Certification, applying the

“compelling reasons” standard (as opposed to the “good cause” standard) to NIKE’s assertions

of non-party privacy interests. ECF No. 363 at 4. The Court did not assess whether NIKE had

“good cause” for the initial “Confidential” designations (which Plaintiffs have never challenged,

until now). 2

        Regarding the documents challenged in Plaintiffs’ Motion, in May 2024, Plaintiffs

initiated meet and confer communications asking NIKE to remove confidentiality designations



2
 Whether NIKE’s non-party privacy interests satisfy the “good cause” standard related to the
sealing of filed documents is one of the questions to be answered by the Ninth Circuit on appeal.
ECF No. 406, Cahill et al. v. NIKE, Inc., No. 24-165.


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made to multiple witnesses’ deposition transcripts, as well as documents in the “NIKE_52”

production, all containing information related to internal complaints made of alleged harassment.

Plaintiffs are aware that NIKE’s appeal is fully briefed and pending before the Ninth Circuit, and

that the documents for which they seek to roll back the “Confidential” designations may not be

admissible at trial because they are not relevant to the claims of the four Named Plaintiffs.

       Nonetheless, during the meet and confer process, NIKE explained why it has “good

cause” for designating documents within the production set as “Confidential.” ECF No. 506 at

10-11. The documents in the “NIKE_52” production relate entirely to the “Starfish” complaints

submitted in confidence by employees and contain those employees’ private allegations

regarding sensitive matters. Id. For the same reasons, NIKE has “good cause” to designate

“Confidential” the related scheduling emails, because they confirm participation of individuals in

the investigation, who expected their identities to remain confidential. Id. However, through the

meet and confer process, NIKE agreed to downgrade “Attorney Eyes’ Only” documents to

“Confidential” and to remove the “Confidential” designation from sixteen documents. NIKE

further agreed that the remaining “Confidential” documents may be filed by Plaintiffs in

connection with any merits-based filing, provided that non-party names and one reference to a

specific identifying job title be redacted while NIKE’s related appeal is pending. Id. at 14. As

NIKE explained, the non-party names should be redacted because they either appear on a

confidential complaint or confirm participation in confidential interviews. Id. at 10-11. NIKE

also explained that it would not agree to Plaintiffs’ request to remove confidential designations

wholesale from the remaining documents, as doing so would allow Plaintiffs to circulate the

documents to “everyone, for any purpose, outside of this litigation.” Id. at 14. That is not

something to which NIKE could or should agree.


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       With NIKE’s concessions, Plaintiffs can file every single document in the “NIKE_52”

production with limited redactions, should they need to do so for a legitimate purpose. Plaintiffs

can also show the documents to any witnesses who authored or originally received them. The

only thing Plaintiffs cannot do is disclose them outside of the litigation, or to individuals who

have no legitimate need to review them to prepare for trial. Based on Plaintiffs’ counsel’s record

in this case of claimed “inadvertent disclosures” to the press, NIKE has good reason to question

their motivations.

III.   LEGAL STANDARD

       Discovery “in general, [is] conducted in private as a matter of modern practice.” Seattle

Times Co. v. Rhinehart, 467 U.S. 20, 33 (1984). “[W]hen a court grants a protective order for

information produced during discovery, it already has determined that ‘good cause’ exists to

protect this information from being disclosed to the public by balancing the needs for discovery

against the need for confidentiality.” Phillips ex rel. Ests. of Byrd v. General Motors Corp., 307

F.3d 1206, 1213 (9th Cir. 2002). The Stipulated Protective Order entered by the Court in this

case states, “the parties agree that good cause exists to protect the confidential nature of the

information contained in documents, interrogatory responses, responses to request for admission,

or deposition testimony.” ECF No. 82 at 2. This specifically includes “matters pertaining to

claims of harassment or discrimination.” Id. (emphasis added). The Stipulated Protective

Order continues: “All documents, testimony, and other materials produced by the parties in this

case and labeled ‘Confidential’ or ‘Attorneys’ Eyes Only’ shall be used only in this

proceeding.” Id. (emphasis added). However, the Parties may use “information, documents, or

portions of documents marked ‘Confidential’” with “[t]he authors and the original recipients of




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the documents” as long as they agree to be bound by the terms of the Stipulated Protective Order.

Id. at 5.

IV.     THE DOCUMENTS AT ISSUE ARE PROPERLY MARKED CONFIDENTIAL

        A.       “Good Cause” Exists To Protect Sensitive Information Submitted In
                 Confidence By Employees Who Are Not Parties To The Litigation.

        NIKE has “good cause” for marking the documents at issue, including confidential

complaints and related emails, “Confidential.” Each document relates to an internal concern

raised by a non-party employee, in confidence, typically regarding some kind of harassment

allegation. The documents either detail sensitive allegations or confirm participation in

confidential interviews. 3 These are exactly the type of documents that the Stipulated Protective

Order was designed to protect. See ECF No. 82. In fact, the Protective Order proffers “matters

pertaining to claims of harassment or discrimination” as an example of the kinds of documents

and/or information that the parties have “good cause” to protect from disclosure. See ECF

No. 82 at 2. Such sensitive information further meets the standard of “good cause” set forth in

Rule 26, as disclosure of the information or the fact of an individual’s decision to raise a

concern, when that individual never intended for such information to be disclosed publicly,

would lead to “annoyance, embarrassment [and] oppression” as set forth in the Rule. See Fed. R.

Civ. Proc. 26 (c)(1). Plaintiffs’ Motion completely ignores NIKE’s multiple correspondence

providing its good faith basis for properly designating these documents confidential. See ECF

No. 506 at 10-11 and 14.




3
  For instance, some of the documents reflect the identities of individuals who were connected to
the process, even if they did not submit documents themselves. ECF No. 506 at 11.

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       B.      Designating Complaint-Related Documents “Confidential” Does Not Impede
               Plaintiffs’ Ability To Litigate This Case.

       As NIKE pointed out in its meet and confer correspondence and as referenced above,

designation of documents as “Confidential” that have been produced in full—without

redactions—does not interfere with Plaintiffs’ ability to litigate this case. NIKE already has

agreed that Plaintiffs may file the documents publicly, with limited redactions, if needed for the

Court to rule on a substantive, merits-based motion. Therefore, by keeping the “Confidential”

designation on the documents, NIKE has done nothing more than prevent Plaintiffs from

disseminating them outside of this litigation. Plaintiffs also may show the documents to their

authors and any original recipients. It is hard to understand—and Plaintiffs have not

articulated—any other legitimate use of the documents in this case.

       That connection is even more tenuous given that the documents at issue in this Motion

are not relevant to the claims of the four Named Plaintiffs who remain in this case, and unlikely

to be admissible at trial. Although this Court has found that the non-party complaints are

discoverable in this litigation, that does not mean they are admissible. Here, as NIKE will set

forth in its upcoming motions in limine, they are not. As a preliminary matter, the operative

complaint does not allege any harassment-related causes of action. See generally ECF No. 377

(Second Amended Complaint). None of the four remaining Named Plaintiffs allege that they

participated in the “Starfish” document submissions, and none of the documents at issue relate to

the claims of the four Named Plaintiffs. Id. In addition, the documents are hearsay, more

prejudicial than probative, and invite mini-trials (as NIKE would then be forced to present

evidence rebutting the allegations contained within the documents, which are wholly irrelevant

to the claims of the four Named Plaintiffs to begin with). If anything, this dispute should be

deferred until after pretrial briefing on admissibility, which may moot the entire issue.


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       C.      Plaintiffs Should Not Be Permitted To Disclose Confidential Documents
               Outside Of The Litigation.

       Plaintiffs have been evasive with the “why” for this ask, ultimately shielding themselves

behind pretextual claims of the need for trial preparation (which, as shown above, do not

overcome the “good cause” for the designations). The record tells a different story, and as this

Court has acknowledged, Plaintiffs have played fast and loose in the past with sensitive internal

documents that have been produced by NIKE in connection with this litigation. See, e.g., ECF

Nos. 471 and 497. Therefore, NIKE has appropriately maintained its confidentiality

designations to the documents at issue because blanket removal would also remove the

protection afforded by the Stipulated Protective Order, providing that the documents “shall be

used only in this proceeding.” See ECF No. 82 at 2. Civil discovery is not a mechanism for

collection of sensitive documents for disclosure to third parties who are unrelated to the

litigation. Plaintiffs should not be permitted to use the discovery process in this way.

       Plaintiffs also fail to explain why this issue must be resolved now, particularly as NIKE’s

related appeal is pending. Plaintiffs have no imminent filings requiring the use of these

documents in the litigation (in which they could use the documents anyway) and have provided

no reasonable explanation for why confidentiality designations must be ruled on by this Court at

this time. The Ninth Circuit’s guidance is likely to be instructive here, regardless of the

outcome, and there is no need to risk duplicative work, especially when there is no imminent and

pressing need to do so.

       D.      If the Court Entertains Plaintiffs’ Motion, It Should Be After The Ninth
               Circuit Rules On NIKE’s Related Appeal.

       Although NIKE disputes that the “good cause” standard applicable to confidentiality

designations is the same “good cause” standard that applies to documents filed under seal, at a



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minimum, the Court should defer ruling on Plaintiffs’ Motion until the Ninth Circuit resolves

NIKE’s current appeal. If, for example, the Ninth Circuit rules in NIKE’s favor and concludes

that the names of complainants, witnesses, and alleged violators should not be filed publicly,

then it would affirm NIKE’s designation of the documents as “Confidential.” 4 Plaintiffs are

trying to put the cart before the horse, forcing NIKE to withdraw designations that the Ninth

Circuit may very well conclude were appropriate, which is a waste of both judicial and party

resources.

V.     CONCLUSION

       For the foregoing reasons, Plaintiffs’ Motion should be denied. Alternatively, the Court

should consider Plaintiffs’ Motion after the Ninth Circuit ruling in connection with Appeal

No. 24-165.


Dated: July 30, 2024                         Respectfully submitted,


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4
 The converse, however, is not true. Even if the Ninth Circuit concludes that the documents
should not be filed under seal, documents produced in discovery still can and should be marked
“Confidential” if they meet the “good cause” standard.

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